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 Attorney or Party Name, Address, Telephone and FAX Nos., State Bar No. &       FOR COURT USE ONLY
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 Attorneys for: Debtor
                                             UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 In re:
                                                                                CASE NO.:8:21-bk-11710-ES
           JAMIE LYNN GALLIAN,
                                                                                ADVERSARY NO:
                                                                                (if applicable)

                                                                                CHAPTER: 7

                                                                   Debtor.




                                                                   Plaintiff,
                                     vs.


                                                              Defendants.
                                                                                          SUBSTITUTION OF ATTORNEY

                                                                                                        [LBR 2091-1(b)]




              This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15615 Alton Parkway, Suite 210, Irvine, CA 92618

A true and correct copy of the foregoing document entitled (specify): Substitution of Attorney will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 08/08/22   , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 8/8/22                , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.



                                                                                     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)       , I served the following persons and/or entities
by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
 August 8, 2022              Bert Briones                                               /s/ Bert Briones
 Date                        Printed Name                                               Signature




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                                                Main Document     Page 4 of 4
TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


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